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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re                                                          :         Chapter 11
                                                               :
RUNWAY LIQUIDATION                                             :         Case No. 17-10466 (SCC)
HOLDINGS, LLC, et al.,1                                        :
                                                               :         Jointly Administered
                  Debtors.                                     :
---------------------------------------------------------------x
                                                               :
DAVID MACGREEVEY, in his capacity as                           :
PLAN ADMINISTRATOR,                                            :
                                                               :         Adv. Pro. No. 17-01101 (SCC)
                  Plaintiff,                                   :
                                                               :
         vs.                                                   :
                                                               :
NYAM, LLC,                                                     :
                                                               :
                  Defendant.                                   :
---------------------------------------------------------------x

                               AMENDED INITIAL PRETRIAL ORDER

         Initial disclosures pursuant to Fed.R.Civ.P. 26(a)(1) were completed on or before June

14, 2018.

         Fact discovery shall be completed on or before October 31, 2018.

         Any expert report required pursuant to Federal Rule of Civil Procedure 26(a)(2)(B) shall

be served by the party which bears the burden of proof for that issue no later than November 29,

2018. Any Party’s expert report intended to rebut any other expert report, including any other

expert reports that may be filed earlier than the deadlines, established in this subparagraph, shall

be provided no later than December 27, 2018. All reports shall provide the information required


1
    A list of the Post-Effective Date Debtors in these chapter 11 cases, along with the last four digits of each Post-
    Effective Date Debtor’s federal tax identification number include: Runway Liquidation Holdings, LLC (6857);
    Runway Liquidation, LLC (5942); Runway Liquidation Intermediate Holdings, LLC (3673); MR Liquidation,
    LLC (9200); and MMH Liquidation, LLC (3854).


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by Fed.R.Civ.P. 26(a)(2)(B). All expert discovery shall be completed no later than January 24,

2019.

 Dated: August 29, 2018                            Dated: August 29, 2018


 GRIFFIN HAMERSKY LLP                              PACHULSKI STANG ZIEHL & JONES
                                                   LLP

 /s/ Michael D. Hamersky                           /s/ Beth E. Levine
 Scott A. Griffin                                  Robert J. Feinstein
 Michael D. Hamersky                               Bradford J. Sandler
 420 Lexington Avenue, Suite 400                   Beth E. Levine
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         mhamersky@grifflegal.com                  Email: rfeinstein@pszjlaw.com
                                                           bsandler@pszjlaw.com
 Counsel to NYAM LLC                                       blevine@psjlaw.com

                                                   Counsel to the Plan Administrator



SO ORDERED:

August 30, 2018


/S/ Shelley C. Chapman
HONORABLE SHELLEY C. CHAPMAN
UNITED STATES BANKRUPTCY JUDGE




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